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 2
      1138 NORTH ALMA SCHOOL ROAD, SUITE 101
 3               MESA, ARIZONA 85201
       Telephone: 480.461.5300 | Fax: 480.833.9392
 4
 5 David R. Schwartz (SBN 9264)
   das@udallshumway.com
 6 Attorneys for Plaintiff
 7                     IN THE UNITED STATES DISTRICT COURT

 8                           FOR THE DISTRICT OF ARIZONA

 9    Elizabeth Burdette Howe,                       Case No.: 2:22-cv-00939-DGC
10                           Plaintiff,
                                                     STIPULATED MOTION TO AMEND
11    v.                                             THE FIRST AMENDED      CASE
                                                     MANAGEMENT ORDER
12    Aspen University, Inc.,

13                            Defendant.

14
           The parties to this action jointly stipulate and move to amend the current First
15
     Amened Case Management Order [DOC 24]. The previous Board of Nursing
16
     investigation against Defendant made it difficult for the parties to engage in meaningful
17
     discovery and conduct depositions, so additional time is needed to complete depositions
18
     and subpoena records from third parties. Furthermore, the parties are attempting to
19
     resolve discovery disputes without the Court’s intervention.
20
           WHEREFORE the parties respectfully request the Court extend the current
21 deadlines set forth in the current First Amened Case Management Order [DOC 24], to
22 allow the parties to conduct depositions and any remaining discovery, as follows:
23         1.     The deadline for completing fact discovery, including discovery by
24 subpoena, shall be August 25, 2023.
25         2.     All interrogatories, requests for production of documents and requests for
26 admission shall be propounded by July 21, 2023.
27         3.     Dispositive motions shall be filed no later than September 22, 2023.

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 1             4.          All parties and their counsel shall meet in person and engage in good faith
 2 settlement talks no later than August 28, 2023. Upon completion of such settlement talks,
 3 and in no event later than five working days after the deadline set forth in the preceding
 4 sentence, the parties shall file with the Court a joint report on settlement talks executed
 5 by or on behalf of all counsel. The report shall inform the Court that good faith settlement
 6 talks have been held and shall report on the outcome of such talks.
               5.          The Court will hold a conference with the parties before motions for
 7
     summary judgment are filed. The parties shall file the required pre-dispositive motion
 8
     letters with the Court on or before August 25, 2023, and shall call the Court the same day
 9
     to schedule a time for a pre-motion conference.
10
               A proposed form of order is submitted herein. This stipulation is not made for the
11
     purpose of delay, but solely to pursue just outcome for all parties.
12
               Defense counsel has reviewed and authorized the filing of this document and the
13 proposed form of order.
14       DATED: June 30, 2023.
15
16 UDALL SHUMWAY PLC                                  JONES, SKELTON & HOCHILI, P.L.C.
17
   By: /s/ David R. Schwartz                          By: /s/ Charles M. Callahan
18         David R. Schwartz                                  Charles M. Callahan
           Attorneys for Plaintiff                            Attorneys for Defendant
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